 

AO 106 (Rev. 04/10) Application for a Search Wan'ant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

Cellular telephone number 202-469-0563, whose service
provider is T-Mobile, a wireless telephone service
provider headquartered in Bellevue, Washington.

CaseNo. lg°/"{'Iz?/

APPLICATI()N FOR A SEARCH WARRANT

l, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that l have reason to believe that on the following person or property:

See Attachrnent A

over Which the Court has jurisdiction pursuant to Title 18, United States Code, Sections 2703 and 271 l, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crirn P. 41(0) is:
evidence of a crime;
[:l contraband, fruits of crime, or other items illegally possessed;'
l:] property designed for use, intended for use, or used in committing a crime;
[l a person to be arrested or a person who is unlawfully restrained

The search is related to violations of: Title 21, United States Code, Sections 841 and 846

The application is based on these facts: See attached affidavit

l:l Delayed notice of days (give exact ending date if more than 30 days: l is requested
under l8 U.S.C. § 3103a, the basis of Which is set forth on the attached sheet.

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Applz{ZaH//;%/zg{alure

DEA Task Force Officer Luke HeDD
Prz'nled Name and Tz'l‘/e

Sworn to befoi me and signed in my presence:

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, Judge ’s signature S/

City and State: Milwa ' _‘ -_ 1_WED Filed 0 ili D . 0istrate Jud e

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR SEARCH WARRANTS

I, Luke Hepp, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND
1. l make this affidavit in support of an application for search Warrants under

Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(0)(1)(A) for information about the
location of the cellular telephones assigned call numbers as follows (collectively, the “Target
Cell Phones”):

a. 310-738-1464, whose service provider is T~Mobile, a wireless telephone
service provider headquartered in Bellevue, Washington;

b. 703-732-8758 whose service provider is AT&T, a wireless telephone
service provider headquartered in Dallas, Texas;

c. 571-480-1400, whose service provider is AT&T, a wireless telephone
service provider headquartered in Dallas, TeXas;

d. 818-807-8581, whose service provider is AT&T, a wireless telephone
service provider headquartered in Dallas, Texas;

e. l 310-948-4015, Whose service provider is AT&T, a wireless telephone
service provider headquartered in Dallas, Texas;

f. 805-279~5393, whose service provider is Verizon, a Wireless telephone
service provider headquartered in New York, New Yorl<;

g. 202-469-0563, whose service provider is T-Mobile, a wireless telephone
service provider headquartered in Bellevue,' Washington; and

h. 430-710-6484, whose service provider is T-Mobile, a wireless telephone

service provider headquartered in Bellevue, Washington.

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~The Target Cell Phones are described herein and in Attachment A, and the location
information to be seized is described herein and in Attachment B.

2. l am a Special Agent With the Wisconsin Department of Justice, Division of
Criminal lnvestigation (“DCI”), and have been a sworn law enforcement officer for morethan 10
years l am currently assigned to the Wisconsin High Intensity Drug Trafficking Area
(“HIDTA”) Heroin lnitiative. HIDTA is composed of law enforcement officers from federal and
state law enforcement agencies Since, 2014 l have been deputized as a federal task force officer
With the United States Department of Justice, Drug Enforcernent Administration (DEA). As
such, l am an investigative or law enforcement officer of the United States within the meaning of
Section 2510(7) of Title 18, United States Code, in that I am empowered by law to conduct
investigations of and to make arrests for federal felony offenses

3. ln connection With my official DCI and DEA duties, l investigate criminal
violations of the Federal Controlled Substance laws, including, but not limited to Title 18,
United States Code, Sections 1956 and 1957, Title 21, United States Code, Sections 841, 843,
846, 848, 952, and 963. l have been involved with various electronic surveillance methods, the
debriefing of defendants informants, and Witnesses, as well as others Who have knowledge of
the distribution, transportation, storage and importation of controlled substances l have
participated in the execution of multiple federal search warrants

.4. l l have received training in the area of narcotics investigations money
laundering, financial investigations and various methods that drug dealers use to conceal and
launder the proceeds of their illicit drug trafficking enterprises l have participated in numerous
investigations involving violations of state and federal narcotics laws l have participated or

assisted in numerous federal and state search warrants for narcotic related offenses that

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have resulted in the seizure of United States Currency, vehicles, real estate, and jewelry from
individuals involved in narcotic trafficking

5 . I have authored and/or aided in investigations that have led to the issuance of
numerous search warrants involving violations of both state and federal narcotic laws These
Warrants involved the search of locations including: residences of targets, their associates and
relatives, “stash houses” (houses used as drug/money storage locations), storage facilities bank
safe deposit boxes, cellular/camera phones, and computers Evidence searched for and
recovered in these locations has included controlled substances, records pertaining to the
expenditures and profits realized therefrom, monetary instruments, and various assets that Were
purchased'with the proceeds of the drug trafficking v

6. Through training, experience, and discussions with other experienced agents:

a. l have learned about the manner in which individuals and organizations
distribute controlled substances in Wisconsin as well as in other areas of the United States;

b. l am familiar With the appearance and street names of various drugs,
including marijuana, heroin, cocaine and crack cocaine. l am familiar with the methods used by
drug dealers to package and prepare controlled substances for sale. l know the street values of
different quantities of the various controlled substances ;

c. -l am familiar with the coded language utilized over the telephone to
discuss drug trafficking and know that the language is often limited, guarded, and coded l also
know the various code names used to describe controlled substances;

d. l know drug dealers often put telephones in the names of others
(nominees) or obtain pre-paid cellular telephones from companies where no subscriber name or

address is required to distance themselves from telephones that they use to facilitate

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drug distribution Because drug traffickers go through many telephone numbers they often do
not pay final bills when they are done using a telephone number and then are unable to put
another line in the name of that subscriber;

e. l know large-scale drug traffickers often purchase and/or title their
' assets in fictitious names aliases or the names of relatives associates or business entities to
avoid detection of these assets by government agencies l know that even though these assets
are in names other than the drug traffickers the drug traffickers actually own and continue to
use these assets and exercise dominion and control over them;

f. l know large-scale drug traffickers must maintain on-hand, large
amounts of U.S. currency to maintain and finance their ongoing drug business

g. l know it is common for drug traffickers to maintain books records
receipts notes ledgers airline tickets receipts relating to the purchase of financial instruments
and/or the transfer of funds and other papers relating to the transportation, ordering, sale, and
distribution of controlled substances That the aforementioned books records receipts notes
ledgers etc., are maintained where the traffickers have ready access to them;

h. l know it is common for large-scale drug traffickers to secrete
contraband, proceeds of drug sales and records of drug transactions in secure locations within
their residences their businesses and/or other locations over which they maintain dominion and
control, for ready access and to conceal these items from law enforcement authorities or rival
drug traffickers These secure locations include, but are not limited to safes, briefcases purses
locked filing cabinets and hidden Storage areas in natural voids of a residence;

i. l know it is common for persons involved in large-scale drug trafficking

to maintain evidence pertaining to their obtaining, secreting, transferring, concealing

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and/or expenditure of drug proceeds such as currency, financial instruments precious metals
and gemstones jewelry, books records of real estate transactions bank statements and records
passboole money drafts letters of credit, money orders bank drafts cashier’s checks bank
checks safe deposit box keys and money wrappers These items are maintained by the
traffickers within residences (including attached and unattached garages), businesses or other
locations over which they maintain dominion and control ;

j. l know large-scale drug traffickers often use electronic equipment such
as telephones (land-lines and cell phones), computers telex machines facsimile machines
currency counting machines and telephone answering machines to generate, transfer, count,
record and/or store the information described in the items abovei as well as to conduct drug
trafficking activities

k. l know when drug traffickers amass large proceeds from the sale of
drugs the drug traffickers attempt to legitimize these profits through money laundering
activities To accomplish these goals drug traffickers utilize the following methods including,
but not limited to: domestic and international banks and their attendant services securities
brokers professionals such as attorneys and accountants casinos real estate, shell corporations
and business fronts and otherwise legitimate businesses that generate large quantities of
currency; and

l. l know drug traffickers commonly maintain addresses or telephone
numbers in books or papersthat reflect names addresses and/or telephone numbers of their
associates in the trafficking organization.

7. l am an “investigative or law enforcement officer” of the United States within the

meaning of Title 18, United States Code, Section 2510(7), that is an officer of the United States

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who is empowered by the law to conduct investigations of and to make arrests for the offenses
enumerated in Title 18, United States Code, Section 2516.

8. The facts in this affidavit come from my my training and experience as well as
my personal participation in this investigation via (a) reports prepared by, and information
obtained from, other federal, state, and local law enforcement agents and officers all of whom l
believe to be truthful and reliable; and (b) information obtained from cooperating citizen
witnesses confidential sources and defendants

9. Throughout this affidavit, reference will be made to case agents Case agents are
those federal, state, and local law enforcement officers who have directly participated in this
investigation, and with whom your affiant has had regular contact regarding this investigation
This affidavit is intended to show merely that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter.

PROBABLE CAUSE

10. The United States is investigating Josef Habib, Lev Reys, Robert Malkin, Jason
Malkin, Fredric Birault, Scott Jungwirth, Seth Jacobs, Nahom Hagos, Alae Arbi,
Mohammed Omar, and others concerning possible violations of, inter alia,` Title 21, United
States Code, Sections 841 and 846 (Distribution of Controlled Substances and Conspiracy to
Distribute Controlled Substances).

ll. ln 2017, members of the Milwaukee Police Department initiated an investigation
into a large-scale marijuana drug trafficking organization (DTO) led by losef K. Habib and
others Habib acquired large shipments of marijuana from out of state source(s), which Habib

then distributed in the greater l\/lilwaukee area. Habib was also identified as utilizing stash

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locations in the greater Milwaukee area, including in the cities of Milwaukee and Greenfield,
Wisconsin.

12. On lanuary 8, 2018, law enforcement was conducting surveillance at an identified
stash location at 4100 W. Hillcrest Drive, apartment #207, in Greenfield and observed a vehicle
known to be driven by Habib, a black Nissan Maxima, Wisconsin license 242LWL, parked in a
visitor parking stall at 4100 W. Hillcrest Drive, near the garage for apartment #207. The
overhead garage door on the attached garage for # 207 was fully open.

13. Law enforcement subsequently observed a Toyota Highlander vehicle with VA
license plates arrive and drive into the open garage for apartment #207. The garage door then
immediately closed

14. Approximately 20 minutes later, law enforcement observed the overhead garage
door open, and law enforcement observed a white male enter the driver’s seat of the Toyota and
Habib standing in front of the Toyota. The Toyota began to reverse out of the garage to
apartment #207 and drive from the area. Habib was then observed entering the Nissan Maxima
and drove it into the garage for apartment #207, and the overhead door closed

15. Approximately 25 minutes later, the overhead door of the garage for apartment
#207 again opened and the Nissan Maxima exited in reverse. Habib was observed to be the
driver and sole occupant of the vehicle.

16. A traffic stop was conducted of the Nissan Maxima, driven by Habib, directly
outside the address at 4100 W. Hillcrest Drive. At this time, an odor of marijuana was detected
emanating from the vehicle and a large black plastic garbage bag was observed on the rear

passenger seat. The black plastic garbage bag was consistent with what law enforcement knew

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during the investigation that Habib utilized to transport quantities of marijuana A search of the
garbage bag revealed foil sealed packages each of which contained suspected marijuana

l7. A complete search of the Nissan Maxima revealed a total of approximately 64
pounds of suspected marijuana within the trunk and rear passenger area of the vehicle. A field
test conducted on the suspected marijuana was conducted With positive results for the presence
of THC.

18. On January 8, 2018, a stop was also conducted of the Toyota and a subsequent
consent search was conducted, which revealed approximately 160 pounds of marijuana and in
excess of $300,000 in U.S. currency.

19. Search warrants were subsequently executed on January 8, 2018 at 4100 W.
Hillcrest Drive, apartment #207, Greenfield, Wisconsin, and at the residence of Habib, located at
117 W. Walker Street, apartment #303, l\/_[ilwaukee.

20. Law enforcement located and seized approximately 206 pounds of marijuana
from 4100 W. Hillcrest Drive, apartment #207, in Greenfield. Additionally, law enforcement
located and seized approximately 16 pounds of marijuana, in excess of $21,500 in U.S. currency,
and a loaded .40 caliber pistol from 117 W. Walker Street, apartment #303. Also seized were
items consistent with the packaging and distribution of controlled substances

21. Rental documents obtained for the stash location at 4100 W. Hillcrest Drive
revealed that it had been rented in 2017 by Fredric Birault, and an individual named Larry
Peters was the contact name for Birault. Larry Peters was subsequently determined to be an alias

name of Lev Reys.

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22. Rental documents at a prior identified stash location in 2017 in the same
apartment complex as 4100 W. Hillcrest Drive revealed that this former stash location was
rented by Robert Malkin.

23. Rental documents obtained for the residence of Josef Habib, 117 W. Walker
Street, Milwaukee revealed that the apartment had been rented by Robert Malkin in 2017.

24. ln January 2018, a confidential informant (Cl) began cooperating in the
continuing investigation into the DTO. The Cl provided information about the membership,
structure, and customs of the interstate marijuana DTO emanating in California. The Cl’s
information has been corroborated by information obtained from various pubic databases
documents obtained during the investigation, asset and ownership records law enforcement
records physical observations and review of recorded jail calls Such information will be
detailed below. The Cl’s information has never been found to be false or misleading The Cl
has no criminal record and is receiving consideration in connection with a pending drug case
from the United States Attorney’s Office for his/her cooperation with law enforcement The Cl
has also received monetary compensation in the form of covered expenses in exchange for his
cooperation with law enforcement For these reasons 1 consider the Cl to be reliable

25 . The CI stated an individual named Bob, subsequently identified as Robert
Malkin, obtained in excess of 1000-pound quantities of marijuana in California, which were
subsequently transported by senn-tractor trailer to a location in Maryland. Parts of the shipments
were then distributed to various locations in the U.S., including Virginia / Washington D.C.
areas Pittsburgh, Pennsylvania; North Carolina; and l\/lilwaukee, Wisconsin. The Cl further
stated Robert Malkin operates a property company and is suspected of laundering drug

proceeds through the company by purchasing properties

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26. The semi-tractor trailer shipments of marijuana were off loaded from hidden
compartments in the trailer at a hangar in Hagerstown, Maryland with quantities then transported
for re-packaging and distribution at a stash house in Germantown, Maryland. ln November 2017,
the C1 was recruited to move into and reside at the stash location in Germantown, Maryland and
was responsible for oversight of the shipments of marijuana upon their arrival in Maryland by
keeping accurate counts of the weights of marijuana that were shipped to the hangar and
processed at the stash house. The Cl was also responsible for collecting large quantities of
currency from various coconspirators as payment by the coconspirators for quantities of
marijuana they obtained from the shipments and had subsequently distributed The money was
also processed and packaged at the stash house and kept at a rented storage location in
Gaithersburg, Maryland. Upon the semi-tractor trailer being readied for return to California the
quantities of money were then transported to the hangar and secreted in the hidden compartments
in the semi-tractor trailer and driven to California.

27. The Cl met an individual identified as Lev Reys through a mutual associate
Fredric Birault, both of whom the C1 knew to reside in California. Birault had advised the CI
that Reys was looking for someone to assist in the organization’s interstate marijuana trafficking
organization and oversee the marijuana stash and off load locations in Maryland, and Reys
would pay the individual for those duties Birault stated he declined the offer as Bi‘rault did not
wish to move to Maryland. The C1 was recruited by Reys for this role and Reys had advised the .
Cl that a coconspirator named “Scotty,” subsequently identified by law enforcement as Scott
Jungwirth, had occupied the Maryland stash house just before the CI. Reys stated Jungwirth
had the same duties as the Cl, but Jungwirth no longer occupied the stash house. Jungwirth

had a quantity of marijuana shipped or delivered to the stash house. Having the marijuana

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shipped to the stash house was against the rules of the organization of keeping the location secret
from any mailings or knowledge of who occupied the stash house to maintain the integrity of the
organizations use of the location as a stash house.

28. The C1 identified Josef Habib as a Milwaukee based distributor for the group.
The Cl had obtained large quantities of U.S. currency from Habib, which the Cl then transported
back to Maryland.

29. The Cl identified Lev Reys as a close associate of Robert Malkin. The Cl stated
Reys’ role in the organization was overseeing transportation of the shipments of marijuana from
California to Maryland and other locations The Cl stated Reys has told the Cl that Reys’ goal is
to accumulate numerous properties in the Pittsburgh, Pennsylvania area utilizing marijuana
distribution proceeds and then accumulate further wealth through ownership and rental of the
properties

30. The Cl identified an individual as Seth, subsequently identified as Seth Jacobs as
a main Maryland / Virginia based distributor for the organization who frequented the stash house
in Maryland and oversaw a daily worker at the stash house named Ben. The Cl stated Ben was
responsible for repackaging the marijuana at the stash location for subsequent distribution and
packaging of currency for shipment back to California.

31. The Cl also identified and individual named Alae / Elae, subsequently identified
as Alae Arbi, and an individual named Nash, subsequently identified as Nahom Hagos as
individuals that frequented the stash house in Germantown, Maryland and obtained multi-pound
quantities of marijuana weekly, which Arbi and Hagos sold in the Maryland / Virginia /

’ Washington D.C. areas

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32. The C1 identified the Cl’s two-cellular telephone numbers as 240-702-5339 and
818-216-1401. The CI also stated that a cellular telephone that the Cl had left at the stash house
in Maryland had been provided to the Cl by Lev Reys in November 2017 as a cellular telephone
number to utilize for contacting coconspirators in the organization The Cl had changed cellular
telephones due to issues with service.

33. On January 9,` 2018, law enforcement from l\/lontgomery County Sheriff’ s
Department executed a search warrant at the stash house in Germantown, Maryland based upon
the information developed in this investigation A search of the residence revealed evidence
consistent with the information provided by the Cl as the location being a stash house for
marijuana distribution: thousands of unused vacuum sealed bags marijuana remnants and the
cellular telephone identified by the Cl as being at that location and having been provided to the
Cl by Reys. The cellular telephone was identified as having telephone number 818-400-5135. k

34. The Cl identified various telephone numbers and usernames of the coconspirators
from an encrypted cellular telephone application called Telegram, which the coconspirators
utilized to contact one another to avoid detection from law enforcement The Cl stated that the
usernames that the coconspirators utilized in the app were fictitious names that the various
coconspirators had chosen.

35. Law enforcement reviewed the cellular telephone of the Cl and the Telegram app
on the Cl’s cellular telephone. The Cl identified the following names and telegram app contacts:
a name of 1 oe with a fictitious name of Steven Trace and username @Ralfy434, Telegram app
telephone number 414-888-0646 as the contact information for Josef Habib; the name Larry
Peters and username i@LarryPeters Telegram app telephone number 818-299-0267 as the

contact information for Lev Reys.

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36. During the week of January 8, 2018, an attorney contacted law enforcement and
advised that an individual who identified himself by the name of “Seth” had contacted the
attorney regarding the Cl and inquired as to representing the Cl. The attorney provided the
telephone number that “Seth” called from as 707-657-8654. The Cl stated the Cl doesn’t know
any other individuals named Seth other than Seth Jacobs. The Cl suspected that Jacobs was the
individual that called the attorney as Reys had told the Cl in the past that if the Cl was ever
arrested that the organization would obtain an attorney for the Cl.

37. On 1anuary 25, 2018, law enforcement obtained search warrants from the
Honorable Magistrate Judge William E. Duffin for the two cellular telephones of Habib, 414-
888-1856 and 571-639-1582. A review of the telephones revealed contacts with a name entered
as Bdigi, telephone number 805-279-5393 in the Telegram app, and encrypted conversations
between that number and Habib’s cellular telephone

38. Database checks on the telephone number 805-279-5393 revealed the telephone
number is listed to Robert Malkin. Further records obtained via subpoena related to rental
locations and banking and other records revealed Robert Malkin utilizing the telephone number
805-279-5393.

39. 1n 2013 and 2014, the United States Postal Service seized and forfeited parcels
being mailed from Robert Malkin to his wife, Susan Malkin, which contained large sums of
currency. 1n 2013, 825,000 was seized, and in 2014, an additional parcel containing over
$149,000 in currency was seized Based on a civil forfeiture complaint filed in U.S. District
Court, Central District of California, in July 2014, the 2014 parcel was shipped by Robert
Malkin in Clairton, Pennsylvania to Susan Malkin in Ventura, California. The telephone number

used by Robert Malkin on the parcel mailing in 2014 was 805-279-5393.

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40. ln January 2018, law enforcement traveled to Maryland with the Cl and
conducted a follow-up consent search at the stash house located in Germantown, Maryland
utilizing the Cl’s keys At this time, law enforcement seized additional items including a
crumpled bank debit card receipt from the basement and paid parking stubs from the garbage,
both dated in December 2017.

41. Bank records and parking management company records received via subpoena
revealed that the debit card receipt was from a bank account of Alae Arbi and the parking stub
receipt was parking paid for on a credit card issued to Nahom Hagos.

42. Law enforcement also conducted consent searches at a CubeSmart storage unit in
Gaithersburg, Maryland and a rented warehouse hangar in Hagerstown, Maryland. The Cl
identified the storage unit as having contained a Rigid steel construction bin purchased by Reys
and put in the storage unit for securing currency from the organization’s marijuana sales prior to
the currency being shipped to California. The Cl identified the warehouse hangar as the location
where the semi tractor-trailers were brought to for off loading of the shipments of marijuana The
C1 stated the tractor-trailers had hidden compartments built within, one of which had what
appeared to be stacks of lumber and plywood that were actually hollowed out inside to secrete
the shipments and another trailer that had a false movie production set that had another Rigid
steel construction bin hidden in the front portion of the trailer.

43. Upon searching the storage unit, the special agents observed a Rigid steel
construction bin inside the unit which was padlocked. A set of keys recovered from the stash
house in Germantown, Maryland opened the locks on the bin, which was found to be empty.

44. Surveillance video received from CubeSmart showed Reys and the Cl entering

the storage unit in November 2017 on the day of the initial rental and a few days later, both are

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observed on video unloading the Rigid steel construction bin from the Toyota Highlander and
taking it inside the storage unit.

45. Upon searching the warehouse hangar, a tractor-trailer was observed parked
inside and the interior of the trailer contained two false lumber and plywood stacks The top
layer of false lumber was hinged on each stack, which revealed hollowed out compartments both
of which were empty. There were also two additional Rigid steel construction bins in the
warehouse hangar.

46. A check on the California license plate on the trailer revealed that the trailer was
registered to Fredric Birault at his known California address

47. Rental documents obtained for the stash house in Gerrnantown, Maryland
revealed that the residence was rented by Robert Malkin in 2017. Rental documents for the
warehouse hangar revealed that it was also rented by Robert Malkin in 2017.

48. The drug trafficking organization involving some of these individuals was traced
back to as early as 2013.

49. ln 2011, Nahom Hagos was one of 18 individuals charged by the U.S. District
Court in Alexandria, Virginia with conspiracy to distribute marijuana The individuals were
obtaining shipments of marijuana from California and distributing it in that district along with at
numerous college campuses in other states Hagos pled guilty and was sentenced to 18 months
prison and 3 years supervised release.

50. Robert Malkin operates Malkin Properties LLC and database checks reveal that
Malkin Properties manages and sells properties in southern California and Pittsburgh,

Pennsylvania areas

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51. A check through property ownership databases and subpoenaed records revealed
that Lev Reys purchased 4 properties in Pittsburgh, Pennsylvania in June and July 2015, three
from Robert Malkin and one from his son Andrew Malkin. `

52. Subpoena’ed bank and other financial accounts revealed that Robert Malkin
established a credit card through Capital One Bank for use by Jason Malkin and Scott
Jungwirth to cover expenses associated with the marijuana distribution activities i.e.: Bob
Malkin appears to be the primary account holder, with Jason Malkin and Scott Jungwirth
being authorized users on the account

a. The “Account lnforrnation Sheet” for Jungwirth lists his email as
“bobmalkin@gmail.com.

b. The address appearing on the monthly statements is: ROBERT K.
MALKIN, STE 101-545, 226 W. Ojai Ave., Ojai, CA 93023.

c. l\/lost of the payments against the account balances are listed under Robert
Malkin’s name.

5 3. Consistent with other financial transactions conducted by members of the DTO,
the payments against the account balances were made with currency equivalents i.e., money
orders whose purchases appear to have been structured to avoid the need to provide
identification to the seller of the money orders Most of these money orders list Robert Malkin
as the purchaser of the money orders and the handwriting appears similar on most of the money
orders

54. Jason Malkin incurred travel expenses associated with the cities of Garberville,
California; Milwaukee, Wisconsin; Pittsburgh, Pennsylvania; Germantown, Maryland; etc.

These expenses were most prevalent from October 2016 through July 2017, but others existed

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5 5 . Scott Jungwirth initially incurred expenses associated with Redding and
Garberville, Califomia; however, he began incurring more expenditures associated with
Maryland beginning in August 2017. Some of his expenditures include large-value vehicle
rentals possibly consistent with driving across the country.

5 6. A review of Seth Jacobs PNC Bank checking account revealed the following:

a. Deposits into Seth Jacobs’ checking account during 2014 initially
consisted only of small currency deposits most of which were less than $50, but a few that
ranged from $100 to $210. Beginning on March 17, 2017, funds were directly deposited into the
account from l\/chean Youth Soccer. These direct deposits were usually made on a bi-weekly
basis The McLean deposits continued into 2017, but in decreasing amounts

b. The vast majority of the deposits made in the years 2015, 2016, and 2017
consisted of currency and were made via Automated Teller l\/lachines (ATl\/l).

c. l\/lultiple deposits were frequently made on the same day. For example:
On August 9, 2015, sixteen deposits totaling $4,731 were made into Seth Jacobs’ account. The
deposit amounts ranged from $70 to $780.

d. Larger deposit amounts often correlated with the purchases of multiple
airline tickets (usually to northern California), hotel costs and vehicle rentals

e. The six largest deposit amounts were accompanied with currency
withdrawals of the same amount. These transactions are indicative of exchanging currency for
different denominations or for cashing currency equivalent items i.e., cashier’s check or money
order, then depositing the proceeds For example, on June 5, 2017, a $2,100 currency deposit
was made at PNC Bank’s Bethesda, Maryland branch. On that same date, a withdrawal of

$2,100 was also made. Handwritten on the back of the withdrawal ticket were the words

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“Remitter: Robert Malkin,” which likely indicates the cashing of a currency purchased on
behalf of the remitter, Robert Malkin.

f. The amount of currency deposited into Jacobs’ checking account
increased dramatically in 2015, rising from $1,196 in 2014 to $77,989 in 2015. The amount of
currency deposits increased again in 2016, to $84,171a However, the amount of currency
deposited during the first nine months of 2017 dropped to $48,733. Thus, based on the currency
amount deposited in the first three quarters of 2017, the annual currency total would have
approximated $65,000, which would have been approximately 1819,000 less than in 2016.

57. Records received from Burke and Herbert Bank reveal that the ATl\/l withdrawal
receipt seized from the “stash house” in Gerrnantown, Maryland is tied to checking account
number *4043, in the name of Alae Arbi. The balance in the account as of March 23, 2018 was
$l 1,578.75.

58. There were eleven deposits into Arbi’s Burke & Herbert Bank checking account
number *4043 during the nine month period from July 2017 through March 23, 2018, totaling

l 815,839.89. Two of those deposits were in July 2017; the nine remaining deposits did not begin
until November 17, 2017. The two July deposits consisted of $2,000 in currency and $59.89 in
checks All deposits from November 2017 through March 23, 2018 consisted of currency,
totaling $13,780. Deposits into Arbi’s bank account have been all currency since November
2017. Arbi’s bank records fail to reveal a legitimate source of income, yet the balance in his
account exceeds $10,000.

59. Records received f`rorn Burke and Herbert Bank regarding the checking account

for Nahom Hagos reveal the following:

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a. Nearly all deposits into Nahom Hagos’ checking account from December
11, 2015 through September 30, 2016 were direct deposits from his listed employer, Global
Engineering Solutions
b. From October 14, 2016 through March 29, 2018, nearly all deposits into
Hagos’ checking account consisted of currency or Venmo cash-outs As per Venmo’s website on
June l, 2018, “Venmo is a free digital Wallet that lets you make and share payments with
fiiends.” The annual totals for the currency deposits were $l 1,615 in 2016, $31,659 in 2017, and `
$l7,220 through March 29, 2018.
60. Law enforcement also received and reviewed subpoenaed rental vehicle and
airline flight records which revealed the following
a. Habib and Jacobs took numerous round trip flights from the Washington
D.C. / Baltimore airports to California in 2015 and 2016, many of which were paid for via a
credit card of Seth Jacobs.
b. Robert Malkin also took numerous flights from Los Angeles California
and Las Vegas, Nevada to Baltimore and Pittsburgh in 2016 and 2017.
c. On at least eight occasions between January 2017 and September 2017,
Robert Malkin or Jason Malkin rented vehicles in Milwaukee Some of the rentals coincided
with the stash house rental time periods in Milwaukee
61. On numerous other occasions in 2017, Lev Reys, Robert Malkin, Jason Malkin
and Scott Jungwirth rented vehicles in Baltimore, Maryland.
62 1t is noted that the airports in Wahington D.C. and Baltimore, Maryland are the
same proximate distance from the stash house in Germantown, Maryland and the warehouse

hangar in Hagerstown, Maryland.

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63. 1 have reviewed numerous recorded jail calls from the Kenosha County Detention
Center where Josef Habib is jailed on his pending indictment through the U.S. District Court,
Eastern District of Wisconsin. Habib placed the calls from January 10, 2018 to l\/lay 25, 2018
and utilized his and various other inmates’ personal identification number to place the calls
Habib has had hundreds of calls with Mohammed Omar at telephone number 571-480-1400
during this time, both direct dialed and 3-way calling through various females who are the
girlfriends / associates of the other inmates in attempts to avoid detection by law enforcement of
his contacts and calls with Habib. During the calls Omar, under the direction of Habib, has
wired tens of thousands of dollars through Moneygram, Western Union, and Walmart to various
females who are associated with the other inmates The female individuals then utilize the
monies to purchase cellular telephones for Corianne Markowski, Habib’s girlfriend, and others
or supply the monies directly to Markowski. The females are allowed to keep a portion of the
wired fundsl

64. Subpoena’ed records received from Moneygram, Western Union, and Walmart
have revealed so far in excess of $39,000 in currency wired by Omar to these individuals on
behalf of Habib. l

65. Habib’s jail calls further reveal that Omar is a conduit for passing information on
to Habib’s criminal associates

66. Numerous cellular telephone call records and data have been reviewed and
analyzed, which revealed current cellular telephone numbers of 310-738-1464 (T-l\/lobile) for
Lev Reys 703-732-8758 (AT&T) and 571-480-1400 (AT&T) for Mohammed Ornar, 818-807-

8581 (AT&T) for Fredric Birault, 310-948-4015 (AT&T) for Jason Malkin, 805-279-

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5393 (Verizon) for Robert Malkin, 202-469-0563 (T-l\/lobile) for Nahom Hagos and 430-710-
6484 (T-l\/lobile) for Scott Jungwirth.

67. 1 believe that the above information establishes probable cause to believe that
cell-site information for the Target Cell Phones will continue to assist case agents in determining
the location and activities of the participants of the DTO and produce evidence of violations of
Title 21, United States Code, Sections 846 and 841, conspiracy to distribute controlled
substances and distribution of controlled substances

68. ln my training and experience, 1 have learned that T-Mobile, AT&T, and Verizon
are companies that provides cellular telephone access to the general public. l also know that
providers of cellular telephone service have technical capabilities that allow them to collect and
generate at least two kinds of information about the locations of the cellular telephones to which
they provide service: (1) E-9ll Phase 11 data, alsoknown as GPS data or latitude-longitude data,
and (2) cell-site data, also known as “tower/face information” or cell tower/sector records E-
911 Phase 11 data provides relatively precise location information about the cellular telephone
itself, either via GPS tracking technology built into the phone or by triangulating on the device’s
signal using data from several of the provider’s cell towers Cell-site data identifies the “cell
towers” (i.e., antenna towers covering specific geographic areas) that received a radio signal
from the cellular telephone and, in some cases the “sector” (i.e., faces of the towers) to which
the telephone connected These towers are often a half-mile or more apart, even in urban areas
and can be 10 or more miles apart in rural areas Furthermore, the tower closest to a wireless
device does not necessarily serve every call made to or from that device. Accordingly, cell-site

data is typically less precise that E-9ll Phase 11 data

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69. 1 Based on my training and experience, 1 know that T-l\/lobile, AT&T, and Verizon
can collect E-911 Phase 11 data about the location of including by initiating a signal to determine
the location of the Target Cell Phones on T-l\/_[obile’s AT&T’s and Verizon’s network or with
such other reference points as may be reasonably available

70. Based on my training and experience, 1 know that T-l\/Iobile, AT&T, and Verizon
can collect cell-site data about the Target Cell Phones

AUTHORIZATION REOUEST

71. Based on the foregoing, 1 request that the Court issue the proposed search
warrants pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(0).

72. 1 further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal
Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until
30 days after the collection authorized by the warrant has been completed There is reasonable
cause to believe that providing immediate notification of the warrant may have an adverse result,
as defined in 18 U.S.C. § _2705. Providing immediate notice to the subscriber or user of the
Target Cell Phones would seriously jeopardize the ongoing investigation as such a disclosure
would give that person an opportunity to destroy evidence change patterns of behavior, notify
confederates and flee from prosecution See 18 U.S.C. § 3103a(b)(l). As further specified in
Attachment B, which is incorporated into the warrant, the proposed search warrant does not
authorize the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the
extent that the warrant authorizes the seizure of any wire or electronic communication (as
defined in 18 U.S.C. § 2510) or any stored wire or electronic information there is reasonable
necessity for the seizure for the reasons set forth above See 18 U.S.C. § 3103a(b)(2).

73. 1 further request that the Court direct T-l\/lobile, AT&T, and Verizon to disclose to

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the government any information described in Attachment B that is within the possession
custody, or control of T-Mobile, AT&T, and Verizon for a time period of 45 days from the date
the warrant is signed 1 also request that the Court direct T-Mobile, AT&T, and Verizon to
furnish the government all information, facilities and technical assistance necessary to
accomplish the collection of the information described in Attachment B unobtrusively and with a
minimum of interference with T-Mobile, AT&T, and Verizon’s services including by initiating
a signal to determine the location of the Target Cell Phones on T-l\/lobile, AT&T, and Verizon’s
network or with such other reference points as may be reasonably available and at such intervals
and times directed by the govemment. The government shall reasonably compensate T-Mobile, .
AT&T, and Verizon for reasonable expenses incurred in furnishing such facilities or assistance
74. l further request that the Court authorize execution of the warrant at any time of
day or night, owing to the potential need to locate the Target Cell Phones outside of daytime

hours

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ATTACHMENT A

Property to Be Searched

1. The cellular telephones assigned call numbers as follows (collectively, the

. “Target Cell Phones”):

a 310-738-1464, whose service provider is T-l\/lobile, a wireless telephone
service provider headquartered in Bellevue, Washington;

b. 703-732-8758 whose service provider is AT&T, a wireless telephone
service provider headquartered in Dallas Texas;

c. 571-480-1400, Whose service provider is AT&T, a wireless telephone
service provider headquartered in Dallas Texas

d 818-807-8581, whose service provider is AT&T, a wireless telephone
service provider headquartered in Dallas Texas;

e. 310-948-4015, whose service provider is AT&T, a wireless telephone
service provider headquartered in Dallas Texas;

f. 805-279-5393, whose service provider is Verizon, a wireless telephone
service provider headquartered in New York, New York;

g. 202-469-0563, whose service provider is T-l\/lobile, a wireless telephone
service provider headquartered in Bellevue, Washington; and

h. 430-710-6484, whose service provider is T-l\/lobile, a wireless telephone
service provider headquartered in Bellevue, Washington

2. lnformation about the location of the Target Cell Phones that is within the

possession, custody, or control of T-l\/lobile, AT&T, and Verizon.

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ATTACHMENT B `
Particular Things to be Seized

All information about the location of the Target Cell Phones described in Attachment A
for a period of forty-five days from the date the warrant is signed, during all times of day and
night. ` “lnforrnation about the location of the Target Cell Phones” includes all available E-9ll
Phase 11 data, GPS data, latitude-longitude data, and other precise location information, as well
as all data about which “cell towers” (i.e, antenna towers covering specific geographic areas)
and “sectors” (i.e., faces of the towers) received a radio signal from the cellular telephone
described in Attachment A.

To the extent that the information described in the previous paragraph (hereinafter,
“Location lnformation”) is within the possession, custody, or control of T-Mobile, AT&T, and
Verizon, T-Mobile, AT&T, and Verizon are required to disclose the Location lnformation to the
government ln addition, T-l\/lobile, AT&T, and Verizon must furnish the government all
information, facilities and technical assistance necessary to accomplish the collection of the
Location lnforrnation unobtrusively and with a minimum of interference with T-Mobile’s
AT&T’s and Verizon’s services including by initiating a signal to determine the location of the
Target Cell Phones on T-Mobile’s AT&T’s and Verizon’s network or with such other reference
points as may be reasonably available, and at such intervals and times directed by the
government The government shall compensate T-l\/lobile, AT&T, and Verizon for reasonable
expenses incurred in furnishing such facilities or assistance

This warrant does not authorize the seizure of any tangible property. ln approving this
warrant, the Court finds reasonable necessity for the seizure of the Location lnformation See 18

U.s.C. § 31033(1;>)(2);

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